      Case 1:19-cv-05490-ELR-WEJ Document 8 Filed 02/24/20 Page 1 of 5




                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

JOSEPH DEVON JACKSON,               )
                                    )
          Plaintiff,                )               Civil Action No.
                                    )               19-CV-05490-ELR-WEJ
v.                                  )
                                    )               JURY TRIAL DEMAND
OLDCASTLE APG, INC. aka             )
OLDCASTLE SERVICES, INC.            )
                                    )
          Defendant.                )
____________________________________)

    DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS AND
           CORPORATE DISCLOSURE STATEMENT

      COMES NOW Oldcastle APG, Inc., (“Oldcastle”), by and through its

undersigned counsel, and pursuant to Federal Rule of Civil Procedure 7.1 and Local

Rule 3.3, hereby submits this Certificate of Interested Persons and Corporate

Disclosure Statement, stating as follows:

   (1) The undersigned counsel of record for Oldcastle certifies that the following is

      a full and complete list of all parties in this action, including any parent

      corporation and any publicly held corporation that owns 10% or more of the

      stock of a party:

         a. Plaintiff Joseph Devon Jackson;
       Case 1:19-cv-05490-ELR-WEJ Document 8 Filed 02/24/20 Page 2 of 5




          b. Defendant OldCastle APG, Inc.1; and

          c. CRH plc, an Irish corporation, the ultimate parent of the corporate

              family that owns Oldcastle APG, Inc.

    (2) The undersigned further certifies that the following is a full and complete list

       of all other persons, associations, firms, partnerships, or corporations having

       either a financial interest in or other interest which could be substantially

       affected by the outcome of this particular case: Oldcastle APG West, Inc.

       which operates under the trade name Superlite.

    (3) Oldcastle APG, Inc. hereby further discloses that Oldcastle APG, Inc. is a

       wholly-owned subsidiary in a corporate family whose ultimate parent entity

       is CRH plc, an Irish corporation. CRH plc is publicly traded (NYSE: CHR);

       no publicly held company owns 10% or more of CRH plc’s shares.

    (4) The undersigned further certifies that the following is a full and complete list

       of all persons serving as attorneys for the parties in this proceeding:




1
  Plaintiff has brought this action against the wrong entity, as Oldcastle has never received any
application for employment from Jackson, never processed any application for employment for
Jackson, did not procure a consumer report on Jackson, and did not subject Jackson to any
adverse action. Further, on information and belief, it appears that Jackson may have intended to
bring an action against Oldcastle APG West, Inc., a Colorado corporation that operates in
Arizona under the trade name Superlite Block (“Superlite”). Superlite, however, does not
transact business in Georgia and it appears that this Court would not have personal jurisdiction
over that entity or the Plaintiff, who in the Complaint asserts that he is a resident of Arizona.
                                               2
    Case 1:19-cv-05490-ELR-WEJ Document 8 Filed 02/24/20 Page 3 of 5




       a. Plaintiff:

Kris Skaar                               Matthew A. Dooley
Justin T. Holcombe                       O’Toole McLaughlin Dooley & Pecora
Skaar & Feagle, LLP                      5455 Detroit Rd.
133 Mirramont Lake Dr.                   Sheffield Village, OH 44054
Woodstock, GA 30189                      (440) 930-4001
(770) 427-5600                           mdooley@omdplaw.com
kskaar@skaarandfeagle.com
jholcombe@skaarandfeagle.com             Greg Gorski
                                         Gorski Law, PLLC
James M. Feagle                          1635 Market St., Ste. 1600
2374 Main St., Ste. B                    Philadelphia, PA 19103
Tucker, GA 30084                         (215) 330-2100
(404) 373-1907                           greg@greggorskilaw.com
jfeagle@skaarandfeagle.com

       b. Defendant: Tracie Johnson Maurer
                     Sapna Jain
                     Jackson Lewis P.C.
                     171 17th Street NW, Suite 1200
                     Atlanta, GA 30363
                     (404) 586-1873
                     Tracie.maurer@jacksonlewis.com

    Respectfully submitted this 24th day of February 2020.

                                   JACKSON LEWIS P.C.

                                   /s/ Tracie Johnson Maurer
                                   Tracie Johnson Maurer
                                   Georgia Bar No. 395670
                                   tracie.maurer@jacksonlewis.com
                                   171 17th Street, NW, Suite 1200
                                   Atlanta, Georgia 30363
                                   404-525-8200 (phone)
                                   404-525-1173 (fax)

                                   Counsel for Defendant


                                     3
      Case 1:19-cv-05490-ELR-WEJ Document 8 Filed 02/24/20 Page 4 of 5




                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

JOSEPH DEVON JACKSON,               )
                                    )
          Plaintiff,                )                Civil Action No.
                                    )                19-CV-05490-ELR-WEJ
v.                                  )
                                    )                JURY TRIAL DEMAND
OLDCASTLE APG, INC. aka             )
OLDCASTLE SERVICES, INC.            )
                                    )
          Defendant.                )
____________________________________)
                         CERTIFICATE OF SERVICE

      I hereby certify that on February 24, 2020, I electronically filed the foregoing
CERTIFICATE         OF    INTERESTED           PERSONS       AND     CORPORATE
DISCLOSURE STATEMENT with the Clerk of Court using the CM/ECF system,
which will automatically serve the following Plaintiff’s counsel of record:

Kris Skaar                                    Matthew A. Dooley
Justin T. Holcombe                            O’Toole McLaughlin Dooley & Pecora
Skaar & Feagle, LLP                           5455 Detroit Rd.
133 Mirramont Lake Dr.                        Sheffield Village, OH 44054
Woodstock, GA 30189                           (440) 930-4001
(770) 427-5600                                mdooley@omdplaw.com
kskaar@skaarandfeagle.com
jholcombe@skaarandfeagle.com                  Greg Gorski
                                              Gorski Law, PLLC
James M. Feagle                               1635 Market St., Ste. 1600
2374 Main St., Ste. B                         Philadelphia, PA 19103
Tucker, GA 30084                              (215) 330-2100
(404) 373-1907                                greg@greggorskilaw.com
jfeagle@skaarandfeagle.com

                                          4
Case 1:19-cv-05490-ELR-WEJ Document 8 Filed 02/24/20 Page 5 of 5




                             JACKSON LEWIS P.C.

                             /s/ Tracie Johnson Maurer
                             Tracie Johnson Maurer
                             Georgia Bar No. 395670




                               5
